        Case 3:92-cr-03008-LC        Document 758          Filed 01/12/06     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                              CASE NO. 3:92cr3008LAC

JOAQUIN ACOSTA-LAO

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on January 10, 2006
Motion/Pleadings: MOTION TO PRESERVE [AN] ISSUE UNDER § 2255 6(3)
ACCORDING TO THE SUPREME COURT RULING IN DODD V U.S., 04-5286(2005)
Filed byDEFENDANT PRO SE                  on 12/19/05     Doc.# 753
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed             Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration      of   the   foregoing,       it   is    ORDERED    this   12 th   day   of
January, 2006, that:
(a) The relief requested is DENIED.
(b)




                                                                s /L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
